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                              UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION


 GREG L. ANDERSON,
                                                             CIVIL COMPLAINT
              Plaintiff,

 v.                                                       CASE NO. 3:19-cv-00778

 EASTERN ASSET SERVICES, LLC,
                                                        DEMAND FOR JURY TRIAL
              Defendant.


                                           COMPLAINT

         NOW comes GREG L. ANDERSON (“Plaintiff”), by and through his attorneys, Sulaiman

Law Group, Ltd. (“Sulaiman”), complaining as to the conduct of EASTERN ASSET SERVICES,

LLC (“Defendant”), as follows:

                                       NATURE OF THE ACTION

      1. Plaintiff brings this action for damages pursuant to the Fair Debt Collection Practices Act

(“FDCPA”) under 15 U.S.C. §1692 et seq. for Defendant’s unlawful conduct.

                                     JURISDICTION AND VENUE

      2. This action arises under and is brought pursuant to the FDCPA. Subject matter jurisdiction

is conferred upon this Court by 15 U.S.C §1692, 28 U.S.C. §§1331 and 1337, as the action arises

under the laws of the United States.

      3. Venue is proper in this Court pursuant to 28 U.S.C. §1391 as Defendant conducts business

in the Northern District of Texas and a substantial portion the events or omissions giving rise to

the claims occurred within the Northern District of Texas.

                                              PARTIES



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       4. Plaintiff is a 55 year old natural “person,” as defined by 47 U.S.C. §153(39).

       5. Defendant is a debt collection agency holding itself out as a “full service accounts

receivable management company specializing in collection and recovery solutions across all

industries.”1 Defendant is a limited liability company organized under the laws of the state of

Florida with its principal place of business located at 7643 Gate Parkway, Suite 104-362,

Jacksonville, Florida.

       6. Defendant is a “person” as defined by 47 U.S.C. §153(39).

       7. Defendant acted through its agents, employees, officers, members, directors, heirs,

successors, assigns, principals, trustees, sureties, subrogees, representatives and insurers at all

times relevant to the instant action.

                                    FACTS SUPPORTING CAUSES OF ACTION

       8. The instant action stems from Defendant’s attempt to collect upon a consumer debt

(“subject debt”) said to be owed by Plaintiff.

       9. The subject debt stems from purportedly past due obligations Plaintiff is said to owe to

ACE Loan Company (“ACE”).

       10. Plaintiff has limited income, and while he was able to afford the payments on the subject

debt for some time, due to financial hardship and unforeseen expenses, Plaintiff fell behind on his

obligations to ACE.

       11. Defendant began collecting on the subject debt after Plaintiff’s purported default on the

debt.

       12. On or about March 11, 2019, Defendant contacted Plaintiff’s son, who is also named Greg

Anderson, regarding the subject debt.



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    https://easternassetservices.com/

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    13. Defendant’s representative, who referred to herself as “Bethany,” relayed information

concerning the subject debt to Plaintiff’s son, including the fact that there was suspected fraud in

connection with the subject debt.

    14. As instructed by Bethany, Plaintiff’s son relayed the information concerning the subject

debt to Plaintiff.

    15. Plaintiff then contacted Bethany at the phone number (844) 312-9418 ext. 409.

    16. During this conversation, Bethany accused Plaintiff of committing fraud against ACE, and

further stated that Plaintiff could go to jail unless he paid the subject debt.

    17. Concerned by the nature of Defendant’s representations, Plaintiff agreed to make, and

made, a $65.00 payment in connection with the subject debt.

    18. Plaintiff advised that he would agree to continue making these payments.

    19. However, Defendant subsequently sent Plaintiff a series of written documents via the

online platform Docusign, wherein Defendant attempted to get Plaintiff to agree to $400.00

monthly payments to go about satisfying the subject debt.

    20. Frustrated and concerned by the nature of Defendant’s conduct, Plaintiff spoke with

Sulaiman regarding his rights, resulting in expenses.

    21. Plaintiff has suffered concrete harm as a result of Defendant’s conduct, including but not

limited to: pecuniary loss stemming from Defendant’s unlawful threats, emotional distress, false

fear of being arrested, invasion of privacy, embarrassment stemming from having details of

indebtedness disclosed to a third party, and undue anxiety.

            COUNT I – VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT

    22. Plaintiff repeats and realleges paragraphs 1 through 21 as though fully set forth herein.

    23. Plaintiff is a “consumer” as defined by 15 U.S.C. §1692a(3) of the FDCPA.



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    24. Defendant is a “debt collector” as defined by §1692a(6) of the FDCPA, because it regularly

uses the mail and/or the telephone to collect, or attempt to collect, delinquent consumer accounts.

    25. Defendant is engaged in the business of collecting or attempting to collect, directly or

indirectly, defaulted debts owed or due or asserted to be owed or due to others.

    26. The subject debt is a “debt” as defined by FDCPA §1692a(5) as it arises out of a transaction

due or asserted to be due to another for personal, family, or household purposes.

        a. Violations of FDCPA § 1692b(2) and c(b)

    27. The FDCPA, pursuant to § 1692b, governs what debt collectors must do when placing

phone calls to any person other than the consumer. Under 15 U.S.C. § 1692b(2), when calling a

party other than the consumer, a debt collector must “not state that such consumer owes any debt.”

Furthermore, pursuant to 15 U.S.C. § 1692c(b), “without the prior consent of the consumer given

directly to the debt collector . . . a debt collector may not communicate, in connection with the

collection of any debt, with any person other than the consumer, his attorney, a consumer reporting

agency . . . the attorney of the creditor, or the attorney of the debt collector.”

    28. Defendant violated § 1692b(2) when it contacted Plaintiff’s son and disclosed that Plaintiff

owed a debt.

    29. Defendant further violated § 1692c(b) by communicating with a person other than Plaintiff

regarding the subject debt.

        b. Violations of FDCPA §1692d

    30. The FDCPA, pursuant to 15 U.S.C. §1692d, prohibits a debt collector from engaging “in

any conduct the natural consequence of which is to harass, oppress, or abuse any person in

connection with the collection of a debt.”




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    31. Defendant violated § 1692d through their communication efforts directed towards

Plaintiff’s son. By virtue of contacting a third party with no connection to the subject debt and

disclosing information regarding the subject debt, Defendant engaged in conduct which had the

natural consequence of harassing, oppressing, and abusing Plaintiff. Defendant contacted with

Plaintiff’s son in the manner it did in an effort to put additional pressure on Plaintiff to address the

subject debt hoping that the embarrassment Plaintiff felt by virtue of a third party acquiring

knowledge about his financial situation would compel Plaintiff to more readily address the subject

debt.

          c. Violations of FDCPA § 1692e

    32. The FDCPA, pursuant to 15 U.S.C. §1692e, prohibits a debt collector from using “any

 false, deceptive, or misleading representation or means in connection with the collection of any

 debt.”

    33. In addition, this section enumerates specific violations, such as:

            “The false representation of . . . the character, amount, or legal status of any debt
            . . . .” 15 U.S.C. § 1692e(2)(A).

            “The representation or implication that nonpayment of any debt will result in the
            arrest or imprisonment of any person . . . .” 15 U.S.C. § 1692e(4).

            “The false representation or implication that the consumer committed any crime
            or other conduct in order to disgrace the consumer.” 15 U.S.C. § 1692e(7).

            “The use of any false representation or deceptive means to collect or attempt to
            collect any debt or to obtain information concerning a consumer.” 15 U.S.C.
            §1692e(10).

    34. Defendant violated § 1692e, e(2)(A), e(4), e(7), and e(10) when it falsely represented that

 Plaintiff had committed fraud against ACE and that Plaintiff could be arrested if he did not pay

 the debt. Defendant’s representation directly and falsely suggested that Plaintiff had committed a

 crime and that nonpayment of the debt would result in Plaintiff’s imprisonment, which is a false

 representation regarding the legal status of the debt. Defendant’s false representations damaged
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Plaintiff in numerous ways, including pecuniary loss as a result of Defendant’s false

representations that Plaintiff would go to jail unless payment was made.

   WHEREFORE, Plaintiff, GREG L. ANDERSON, respectfully requests that this Honorable

Court enter judgment in his favor as follows:

   a. Declaring that the practices complained of herein are unlawful and violate the
      aforementioned bodies of law;

   b. Awarding Plaintiff statutory damages of $1,000.00 as provided under 15 U.S.C.
      §1692k(a)(2)(A);

   c. Awarding Plaintiff actual damages, in an amount to be determined at trial, as provided
      under 15 U.S.C. §1692k(a)(1);

   d. Awarding Plaintiff costs and reasonable attorney fees as provided under 15 U.S.C.
      §1692k(a)(3); and

   e. Awarding any other relief as this Honorable Court deems just and appropriate.


Dated: March 29, 2019                               Respectfully submitted,

s/ Nathan C. Volheim (Lead Attorney)                s/Taxiarchis Hatzidimitriadis
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